    Case 4:22-cv-00506-ALM-AGD Document 39 Filed 10/18/23 Page 1 of 1 PageID #: 497




                                  IN THE UNITED STATES DISTRICT
                                 COURT FOR THE EASTERN DISTRICT
                                    OF TEXAS SHERMAN DIVISION

     ANTONIA RODRIGUEZ, et al.                       §
                                                     §
                   Plaintiffs,                       §
                                                     §
     v.                                              §
                                                     §
     LEHMAN XS TRUST MORTGAGE                        §
     PASS-THROUGH CERTIFICATES,                      §
     SERIES 2006-19, U.S. BANK NATIONAL              §     CIVIL ACTION NO. 4:22-CV-00506-
     ASSOCIATION, AS TRUSTEE,                        §               ALM-AGD
     SUCCESSOR IN INTEREST TO                        §
     WILMINGTON TRUST COMPANY, AS                    §
     TRUSTEE, SUCCESSOR IN INTEREST                  §
     TO BANK OF AMERICA NATIONAL                     §
     ASSOCIATION, AS TRUSTEE,                        §
     SUCCESSOR BY MERGER TO LASALLE                  §
     BANK NATIONAL ASSOCIATION,                      §
     AS TRUSTEE, et al.                              §
                                                     §
                  Defendants.                        §

                                                  ORDER

           On August 16, 2023, Plaintiffs requested a 60-day continuance (Dkt. #35) in order to secure
.
    counsel. On August 17, 2023, the court granted the motion and stayed the case during the pendency of

    Plaintiffs' attempts to secure counsel (Dkt. #36). On October 16, 2023, Plaintiffs notified the court

    that they have been unable to secure counsel and intend to file a response to Defendants’ Motion

    for Summary Judgment (Dkt. #25) by October 27, 2023.

           It is therefore ORDERED that the STAY is LIFTED.

           It is further ORDERED that Plaintiffs must file a response to Defendants’ Motion

    for Summary Judgment (Dkt. #25) no later than October 27, 2023.

           IT IS SO ORDERED.
           SIGNED this 18th day of October, 2023.




                                          ____________________________________
                                              AILEEN GOLDMAN DURRETT
                                          UNITED STATES MAGISTRATE JUDGE
